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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA ex rel.
TZAC, INC.,

Plaintiff,
V.

NORWEGIAN PEOPLE’S AID a/l</a

 

 

NoRsK FoLKEHJELP,
Defendant.
15 Civ. 4892 (GHW)
UNITED sTATEs oF AMERICA,
P]amtlff’merven°r’ CoMPLAINT-IN-INTERVENTIoN
V.

NORWEGIAN PEOPLE’S AID a/k/a
NORSK FOLKEHJELP,

Defendant.

 

 

Plaintiff United States of America (the “United States” or “Government”), by its attorney,
Geoffrey S. Berrnan, United States Attorney for the Southern District of New York, brings this
action against Norwegian People’S Aid a/k/a Norsk Folkehjelp (“NPA”), alleging upon

information and belief as follows:

 

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PRELIMINARY STATEMENT

l. l This is a civil action brought by the United States against NPA under the False
Claims Act, 31 U.S.C. § 3729 et Seq. (the “FCA”), and the common law to recover damages
sustained by, and civil penalties owed to, the United States based on NPA’s violation of the FCA
as a result of its provision of material support or resources to Iran, Hamas, the Popular Front for
the Liberation of Palestine (“PFLP”) and the Dernocratic Front for the Liberation of Palestine
(“DFLP”). At all times relevant to this complaint, lran Was included on the U.S. Department of
State’s (“USDOS”) list of state sponsors of terrorism (“State Sponsors of Terrorism List”), and
Hamas, PFLP and DFLP Were included on the U.S. Office of Foreign Assets Control’s
(“OFAC”) Specially Designated Nationals and Blocked Persons List (“SDN List”). NPA
provided material support or resources to lran from 2001 through 2008, and to the three SDN
List entities from 2012 through 2016.

2. USDOS’s State Sponsors of Terrorism List includes countries that USDOS has
determined have repeatedly provided support for acts of international terrorism. Designation as a
state sponsor of terrorism may result in restrictions on U.S. foreign assistance, a ban on defense
exports and sales, and financial and other restrictions

3. OFAC’s SDN List is a list of individuals and entities that are found to support
terrorism or otherwise engage in conduct antithetical to U.S. interests. Collectively, such
individuals and entities are referred to as “Specially Designated Nationals” or “SDNS.” The
U.S.-based assets of SDNs are frozen and U.S. persons generally are prohibited from interacting

With them.

 

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4. Iran has been on the State Sponsors of Terrorism List since 1984, while Hamas,
PFLP and DFLP were on the SDN List at all times relevant to this complaint
5. NPA is a non-profit, non-governmental organization (“NGO”) headquartered in
Norway. NPA describes itself as a humanitarian organization with four main priority areas:
(1) the removal of landmines and other explosives, (2) long-term development worl<, (3) first aid
and rescue services, and (4) social inclusion work and work with refugees
6. Since at least 2012, NPA has received monetary grants from the U.S. Agency for
lnternational Development (“USAID”) to fund various projects and programs. As a condition of
receiving those grants, NPA submitted certifications to USAlD each year in which it represented,
among other things, that,
to the best of its current l<nowledge, it did not provide within the previous
ten years, and will take all reasonable steps to ensure that it does not and
will not knowingly provide, material support or resources to any individual
or entity that commits, attempts to commit, advocates, facilitates, or
participates in terrorist acts, or has committed, attempted to commit,
facilitated, or participated in terrorist acts.
ln the annual certifications, NPA further represented that “[b]efore providing any material
support or resources to an individual or entity,” it would (1) “verify that the individual or entity
does not appear . . . on the master list of Specially Designated Nationals and Blocked Persons . . .
maintained by [OFAC]”; and (2) “consider all information about that individual or entity of
which it is aware and all public information that is reasonably available to it or of which it should
be aware.” The annual certifications defined “material support and resources” to include, among
other things, “training [and] expert advice or assistance.”
7. Notwithstanding the above certifications, and during the period of time covered

by the certifications, NPA provided training and expert advice or assistance to lran, as well as to

Hamas, PFLP and DFLP.

 

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8. l With respect to Iran, from 2001 through 2008 (i.e. , within the certifications’ 10-
year look back), NPA performed mine clearance activities in Iran that were integral to an lranian
oil development project. In connection with the proj ect, NPA, among other things, (1) conducted
risk assessments of the areas in lran where the oil exploration and processing activities were to
occur, (2) surveyed those areas for landmines and other unexploded ordnance, (3) trained
members of the lranian Army on how to conduct mine clearance activities, (4) accompanied and
advised members of the Iranian Army as they conducted mine clearance activities in the relevant
areas, and (5) conducted some mine clearance activities itself. NPA was an integral part of the
proj ect, and its involvement ~» which, as reflected above, included the provision of training and
expert advice or assistance - was critical to the proj ect’s success.

9. With respect to Hamas, PFLP and DFLP, from 2012 through 2016, NPA provided
representatives of those three SDN List entities with training and expert advice or assistance
through a project that NPA funded called “Youth of Today . . . Leaders of Tomorrow” (the
“Youth of Today proj ect”). Through this proj ect, young people in the Gaza Strip, aged 15
through 28, who were affiliated with one of the proj ect’s partner political parties _ which
included Hamas, PFLP and DFLP _ received training aimed at making them more effective
participants in the political process. Such training included programs intended to improve the
participants’ ability to organize, debate, negotiate, advocate for their positions, and resolve
conflicts. These programs were taught by experienced professionals, were typically held over
the course of multiple days, and, in total, comprised more than 250 hours of instructional time.

10. Through the Youth of Today proj ect, NPA also funded numerous workshops
attended by young people in the Gaza Strip and senior officials from the partner political parties,

including Hamas, PFLP, and DFLP. The purpose of these workshops was to reduce a trust gap

 

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that was perceived to exist between youth and the attending political parties, and to enhance
communication between the two groups. The workshops provided the political parties With
information that they could use to bridge this trust gap, including information reflecting (1) the
results of polling (of youth) conducted by Youth of Today project staff, (2) specific areas of
concern for youth, and (3) specific steps the parties could take to address those areas of concern
and, thereby, make themselves more attractive to youth. Notably, NPA received reports stating
that (1) the workshops were successful in bridging the above-referenced trust gap, and (2) certain
of the political parties, including Hamas, PFLP and DFLP, had altered their behavior in response
to information obtained through the workshops.

ll. Because NPA provided training and expert advice or assistance to lran (through
the above-referenced oil development proj ect), as well as to Hamas, PFLP and DFLP (through
the Youth of Today proj ect), its certifications to USAIDthat, to the best of its knowledge, it had
not provided and would take all reasonable steps to ensure that it did not knowingly provide
material support or resources to any prohibited parties were false. As a result of those false
certifications, NPA induced USAID to provide it with a significant amount of grant funding that,
but for the false certifications, USAID would not have provided. Consequently, NPA is liable
under the FCA and the common law for damages and penalties, as discussed in detail below.

JURISDICTION AND VENUE

12. This Court has jurisdiction over the claims brought herein under the False Claims
Act pursuant to 31 U.S.C. § 3730(a) and 28 U.S.C. §§ 1331 and 1345, and over the remaining
claims pursuant to 28 U.S.C. § 1345.

13. Venue lies in this district pursuant to 31 U.S.C. § 3732(a) and 28 U.S.C.

§ 1391(0)(3), because NPA is a non-resident of the United States.

 

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PARTIES

14. Plaintiff is the United States of America suing on its own behalf and on behalf of
USAID.

15. Defendant NPA, a Norwegian NGO, engages in humanitarian activities
throughout the world, including the removal of landmines and other unexploded ordnance. NPA
also funds organizations that operate internationally and purport to promote democratization,
gender equality, youth participation in the political process, and human rights In addition to its
international Work, NPA also manages in Norway reception centers for refugees from Syria, a
first aid and rescue service, and an ambulance service.

FACTUAL ALLEGATIONS
I. The False Claims Act

16. The FCA establishes liability to the United States for an individual who, or entity
that, “knowingly presents, or causes to be presented, a false or fraudulent claim for payment or
approval,” 31 U.S.C. § 3729(a)(1)(A), or “knowingly makes, uses, or causes to be made or used,
a false record or statement material to a false or fraudulent claim,” id. § 3729(a)(l)(B).
“Knowingly” is defined to include actual knowledge of, as well as reckless disregard or
deliberate ignorance of, the truth or falsity of the information Id. § 3729(b)(1). No proof of
specific intent to defraud is required. Ia'.

II. NPA’s Certifications to USAID
17. Since at least 2012, NPA has received monetary grants from USAID to fund

various projects and programs

 

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18. As a condition of receiving those grants, USAID required NPA to submit an
annual application for grant funding. Each of those applications contained the following
language to Which USAID required NPA to certify:

[NPA], to the best of its current knowledge, did not provide, within the
previous ten years, and will take all reasonable steps to ensure that it does
not and will not knowingly provide, material support or resources to any
individual or entity that commits, attempts to commit, advocates, facilitates,
or participates in terrorist acts, or has committed, attempted to commit,
facilitated, or participated in terrorist acts . . . .

19. The annual applications defined the phrase “material support and resources” to

mean

currency or monetary instruments or financial securities, financial services,
lodging, training, expert advice or assistance, safehouses, false
documentation or identification, communications equipment, facilities,
weapons, lethal substances, explosives, personnel, transportation, and other
physical assets, except medicine or religious materials

20. The annual applications also identified several “steps [that] may enable [NPA] to
comply with its [niaterial support] obligations,” and it made clear that each of the identified steps
was a requirement that NPA was obligated to follow. The required steps included the following:

Before providing any material support or resources to an individual or
entity, [NPA] will verify that the individual or entity does not . . . appear on
the master list of Specially Designated Nationals and Blocked Persons,
which is maintained by [OFAC] . . . .

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Before providing any material support or resources to an individual or
entity, [NPA] will consider all information about that individual or entity of
which it is aware and all public information that is reasonably available to
it or of which it should be aware.

[NPA] also will implement reasonable monitoring and oversight procedures
to safeguard against assistance being diverted to support terrorist activity.

 

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21. The annual applications also contained the following language expressly
incorporating the above-quoted certification language into any subsequently issued grant award:
“The Certification is an express term and condition of any agreement issued as a result of this
application, and any violation of it will be grounds for unilateral termination of the agreement by
USAID prior to the end of its term.”

22. ln sum, as a condition of receiving grant funding from USAID, NPA certified
annually that, to the best of its current knowledge, it had not provided (during the prior 10 years)
and would take all reasonable steps to ensure that it did not knowingly provide material support
or resources to any individual or entity that advocates, facilitates or participates in terrorist acts
III. NPA Provided Material Support and Re_sources to Iran, Hamas, PFLP and DFLP

23. Notwithstanding NPA’s above-referenced certifications, from 2001 through 2008,
NPA provided training and expert advice or assistance to lran in connection with oil
development activities in lran. ln addition, through the “Youth of Today. . . Leaders of
Tomorrow” proj ect, NPA provided training and expert advice or assistance to Hamas, PFLP and
DFLP. Such conduct on the part of NPA -- providing material support to a state sponsor of
terrorism and three entities on the SDN List _ rendered false NPA’s certifications to USAID.

A. NPA Provided Material Support to Iran

24. From 2001 through 2008, the National lranian Oil Company (“NIOC”) contracted
with a Norwegian oil company (the “Norwegian Oil Company”) to perform oil development
work in lran. At all times relevant to this complaint, NIOC was owned or controlled by the
Government of lran.

25. The Norwegian Oil Company, in turn, contracted with NPA to plan and

implement mine clearance activities in connection with the oil development proj ect. The

 

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Norwegian Oil Company also contracted with the Iranian Army to assist with the physical
removal of landmines and other unexploded ordnance.

26. NPA Was an integral part of the oil development project. Among other things, as
set forth above, it (1) conducted risk assessments of the areas in lran where oil exploration and
processing activities were to occur, (2) surveyed those areas for landmines and other unexploded
ordnance, (3) trained members of the lranian Army on how to conduct mine clearance activities,
(4) accompanied and advised members of the lranian Army as they conducted mine clearance
activities in the relevant areas, and (5) conducted some mine clearance activities itself.

27. ln performing the above tasks, NPA officials regularly interacted and Worked
collaboratively with representatives of NIOC and the lranian Army. For example, according to
NPA’s internal records, it worked with a particular NIOC manager on “[p]roj ect planning and
field implementation,” and it worked with a specific colonel in the Iranian Army for purposes of
“daily planning and implementation of survey, mapping, clearance and verification [activities].”
This colonel was the liaison between NPA and Iranian Army units in the field.

28. NPA’s contracts with the Norwegian Oil Company confirm its material support to
lran in connection with this oil development proj ect. F or example, the contracts describe the
project and NPA’s role as follows:

Buyer [i.e. , the Norwegian Oil Company] is engaged in exploration work in
the Anaran area [in lran], and ha[s] engaged the Iranian Army to clear
possible mines and unexploded ordnance (UXO) in the area. Contractor
[i. e. ,NPA] is an independent, liaison free World expert in this field and
Buyer has the intention in supporting such expertise on a large scale where
the need for demining and explosive ordnance disposal (EOD) expertise is
required, including awareness courses as well as direct involvement in

supervision and quality control of such operations ln light of this, Buyer
will use Contractor’s expertise in the Anaran development . . . .

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Contractor shall assist Buyer’s own team with an agreed number of well
qualified demining and EOD specialists with long practical experience and
good theoretical insight, who, together with Buyer must be able to co-
operate with the Iranian army and all other relevant and involved
authorities, in connection with the required mine and UXO clearance
operation in the Anaran area in Iran.

29. NPA’s contracts with the Norwegian Oil Company further stated, inter alia, that
“Contractor’s [z`.e., NPA’s] personnel shall have the required experience to adequately supervise
the demining of defined areas and shall offer quality assurance, control and support for the
lranian demining team,” “Contractor’s personnel shall as part of their scope develop a demining
management system for the lranian operation at requested locations,” “Contractor shall, as part
of [its] scope of work[,] provide[] Mine Risk Education for Buyer’s personnel involved in the
Anaran Proj ect,” and “Contractor shall perform escort and surveillance services to groups from
the Anaran Proj ect needing Anaran site visits and field verifications.”

30. At all times relevant to this complaint, lran was designated a “state sponsor of
terrorism” by USDOS. That designation was based, in part, on USDOS’s determination that lran
“repeatedly provided support for acts of international terrorism.”

See https://www.state.gov/i/ct/list/c14151.htm. Annual reports issued by USDOS throughout the
relevant period reiterate Iran’s designation as a “state sponsor” and identify it as a supporter of
SDN List groups, such as “Hizballah and Palestinian terror groups.” See,

e.g. , https://www.state.gov/i/ct/rls/crt/45 321 .htm.

B. NPA Provided Material Support to Hamas, PFLP and DFLP

31. From 2012 to 2016, NPA partnered with a third party (the “Third Party”) to
implement the “Youth of Today . . . Leaders of Tomorrow” project in the Gaza Strip. NPA

provided the funding for this proj ect, and periodically received reports from the Third Party

detailing the goals of the project and the actions taken by the Third Party in furtherance of the

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project The actions taken by the Third Party in connection With the project Were made possible
by the funds provided by NPA.

32. As detailed in the above-referenced reports, the proj ect’s goals included
(1) “building the capacities of youth leaders” _ including youth leaders from the proj ect’s
“partner political parties” _ “in the areas of advocacy and lobbying”; and (2) “strengthen[ing]
the relationship and communication between youth leaders and decision makers [from the
proj ect’s partner political parties] in order to enhance the common understanding between them
and [to] enhance [the parties’] response to youth demands.” With respect to the former goal,
NPA, through the Third Party, provided training to, among others, youth leaders from the partner
political parties With respect to the latter goal, NPA, through the Third Party, provided the
partner political parties with information that they could use to bridge the “trust gap” that was
understood to exist between the parties and youth in the Gaza Strip, including information
reflecting (1) the results of polling (of youth) conducted by Youth of Today project staff,

(2) specific areas of concern for youth, and (3) specific steps the parties could take to address
those areas of concern and, thereby, make themselves more attractive to youth. The partner
political parties included Hamas, PFLP and DFLP. F or purposes of the proj ect, “youth” referred
to individuals aged 15 to 28.

33. Reports that NPA received from the Third Party indicated that youth members of
Hamas, PFLP and DFLP participated in numerous training events that were designed to teach
them skills so they could become more effective participants in the political process F or
example, a report from December 2013, states that, during the period March 30, 2013, through
April 15, 2013, “[a] total of 26 youth leaders” from “partner political parties,” including Hamas,

PFLP and DFLP, received 36 hours of training that was aimed at “enhancing [the participants’]

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skills [and] knowledge,” including with respect to “Negotiation.” The training programs were
taught by experienced professionals and were typically held over the course of multiple days

34. Similarly, reports that NPA received from the Third Party indicated that, as a
result of numerous NPA-funded workshops attended by youth leaders and members of the
partner political parties (including senior members of Hamas, PFLP and DFLP), the “trust gap
between youth and Palestinian political parties [was] reduced leading to [an increase in] the
youth motivation to participate in the political activities.”

35 . Moreover, the reports that NPA received reveal that Hamas, PFLP and DFLP
used information that they obtained from their participation in these NPA-funded workshops to
alter their behavior to make their organizations more attractive to youth. For example, a report
from 2014 states that the Youth of Today project “contributed mainly in raising youth
representation in top bodies inside the political parties,” with “[t]he n[umber] of youth in top
bodies inside Democratic Front [i.e., DFLP] increased to 25% at least.” Similarly, a report from
2015 states that, as a result of the proj ect, the “Hamas movement, [] for the first time, allows
their members to . . . participate in electing heads or leaders of the plenary sessions instead of the
appointment process that w[as] followed before.” ln addition, a 2014 report quotes a “Leader in
PFLP” as stating: “‘The results of [a] political poll [conducted by Youth of Today project staff]
reflect[ a] strong desire to [effect] change among youth, . . . [and because t]hey are able to
threat[en] [to] abstain[] from voting to [put] pressure on us, [] it’s better to take their demands
into consideration ”’ Finally, several of the reports indicate that, in connection with the proj ect,
Hamas, PFLP and DFLP signed a “code of conduct” that addressed specific concerns raised by

youth.

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36. At all times relevant to NPA’s certifications _ and throughout the duration of the
Youth of Today project -- Hamas, PFLP and DFLP were included in the SDN List.

C. The Training and Expert Advice or Assistance that NPA Provided to Iran,
Hamas, PFLP and DFLP Constituted Material Support or Resources

37. The demining-related training and other services that NPA provided to Iran in
connection with the above-referenced oil development project constituted material support or
resources within the meaning of the annual applications for funding that NPA submitted to
USAID.

38. Similarly, the training and other services that NPA provided to members of
Hamas, PFLP and DFLP through the Youth of Today project also constituted material support or
resources NPA’s own documents establish that the project provided (1) young adult members
of these SDN List entities with skills to become more effective participants in the political
process, and (2) the entities’ leaders with specialized information that they used to alter their
behavior in order to become more attractive to youth _ and thereby benefit from increased
youth support.

39. As set forth above, the certifications that NPA signed defined material support
and resources as including “training” and “expert advice or assistance,” and those terms have
been further defined in relevant statutes and case law in ways to clearly include the type of
training and advice or assistance at issue here. See, e.g., 18 U.S.C. § 2339A(b)(2) (defining
training as “instruction or teaching designed to impart a specific skill, as opposed to general
knowledge,” id. § 2339A(b)(3) (defining expert advice or assistance as “advice or assistance

derived from scientific, technical or other specialized knowledge”).

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D. NPA Failed to Disclose to USAID that It Had Previously Provided Material
Support to a Prohibited Party, and It Failed to Take Reasonable Steps to
Ensure that It Did Not Provide Material Support to Prohibited Parties on a
Going Forward Basis
40. As set forth above, starting no later than 2012, NPA submitted annual
certifications to USAID. Through those annual certifications, NPA represented that, “to the best
of its current knowledge, it did not provide within the previous ten years, and Will take all
reasonable steps to ensure that it does not and will not knowingly provide, material support or
resources to any individual or entity that . . . advocates, facilitates, or participates in terrorist
acts.” Given its involvement in the above-referenced oil development project in lran, NPA had
no basis to make the historical representation in even its first certification Moreover, NPA
failed to take sufficient steps to ensure that, on a going forward basis, it did not provide material
support to prohibited parties
41. NPA also represented through its annual certifications that “[b]efore providing
any material support or resources to an individual or entity,” it Would (1) “verify that the
individual or entity does not . . . appear on the [SDN List],” and (2) “consider all information
about that individual or entity of which it is aware and all public information that is reasonably
available to it or of which it should be aware.” NPA did not do these things, as confirmed by the
fact that it allowed representatives from three SDN List entities to obtain valuable training and
other specialized information through the Youth of Today proj ect.
42. NPA further represented through its annual certifications that it would
“implement reasonable monitoring and oversight procedures to safeguard against assistance
being diverted to support terrorist activity.” NPA did not do these things

43. At all times relevant to this complaint, NPA failed to put in place internal policies

or procedures to help ensure that it was complying with its obligations under the certifications

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44. Nor did NPA consult with USAID to_discuss its activities in connection with the
Iranian oil development project or the Youth of Today project.

IV. As a Result of Its False Certifications to USAID, NPA Received Grant Funding to
Which It Was Not Entitled

45. To date, NPA has received millions of dollars in monetary grants from USAID to
fund various projects and programs .

46 . As a condition of receiving that grant funding, NPA submitted to USAID the
above-referenced annual applications, in which NPA certified, inter alia, that it had not provided
(during the prior 10 years) and would take all reasonable steps to ensure that it did not knowingly
provide material support or resources to any entity that advocates, facilitates, or participates in
terrorist acts. Those certifications were expressly incorporated into all subsequent grant funding
requests submitted by NPA to USAID.

47. Had USAID known that NPA had engaged in the above-described conduct in
connection with the lranian oil development project and the Youth of Today proj ect, USAID
would have taken steps to address NPA’s false certifications For example, with respect to the
oil development proj ect, USAID Would _ at a minimum _ have required NPA to provide
suitable assurances that there would not be a recurrence of the same or similar conduct in the
future.

FIRST COUNT

Violation of the False Claims Act: Presenting False Claims for Payment
(31 U.S.C. § 3729(a)(1)(A))

48. The United States incorporates by reference each of the preceding paragraphs as if

fully set forth in this paragraph

49. The United States seeks relief against NPA under 31 U.S.C. § 3729(a)(1)(A).

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50. As set forth above, in connection with its applications for grant funding, NPA
submitted certifications to USAID stating, inter alia, that it had not provided (during the prior 10
years) and Would take all reasonable steps to ensure that it did not knowingly provide material
support or resources to any prohibited parties Those certifications were false because, as set
forth above, NPA provided various types of training and expert advice or assistance to lran,
Hamas, PFLP and DFLP. NPA’s false certifications induced USAID to (1) approve NPA’s
applications for grant funding, and (2) provide NPA with monetary grants that, but for the false
certifications, USAID would not have provided As a result, NPA knowingly presented or
caused to be presented false or fraudulent claims for payment or approval to USAID in violation
of31 U.S.C. § 3729(a)(1)(A).

51. By reason of the false or fraudulent claims, the United States has sustained
damages in a substantial amount to be determined at trial, and is entitled to treble damages plus a
civil penalty for each violation.

SECOND COUNT

Violation of the False Claims Act: Use of False Statements
(31 U.S.C. § 3729(a)(1)(B))

52. The United States incorporates by reference each of the preceding paragraphs as if
fully set forth herein.

53. The United States seeks relief against NPA under the False Claims Act, 31 U.S.C.
§ 3729(a)(1)(13).

54. As set forth above, in connection with its applications for grant funding, NPA
submitted certifications to USAID stating, inter alia, that it had not provided (during the prior 10
years) and would take all reasonable steps to ensure that it did not knowingly provide material

support or resources to any prohibited parties Those certifications were false, and had the effect

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of inducing USAID to (1) approve NPA’s applications for grant funding, and (2) provide NPA
with monetary grants that, but for the false certifications, USAID would not have provided
Therefore, in connection with its applications to USAID for grant funding, NPA knowingly
made or used, or caused others to make or use, false records or statements that were material to
false or fraudulent claims for funding submitted to USAID.

55. By reason of those false records or statements, the United States has sustained
damages in a substantial amount to be determined at trial, and is entitled to treble damages plus a
civil penalty for each violation.

THIRD COUNT
Unjust Enrichment

5 6. The United States incorporates by reference each of the preceding paragraphs as if
fully set forth herein.

57. USAID provided monetary grants to NPA in reliance on certifications that
(1) NPA submitted to it, and (2) were false as a result of NPA’s provision of training and expert
advice or assistance to lran, Hamas, PFLP and DFLP, as set forth above. The circumstances of
NPA’s receipt of the monetary grants from USAID are such that, in equity and good conscience,

NPA should not retain those funds, in an amount to be determined at trial.

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WHEREFORE, the United States respectfully requests judgment against NPA as follows:

a. On Counts One and Two (FCA), a judgment against NPA for treble damages and

civil penalties to the maximum amount allowed by law;

b. On Count Three (common law), a judgment against NPA for damages to the

extent allowed by law.

Dated: March 29, 2018
New York, New York

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